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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
ALLYSON MATEO,
                                                                           14 Civ. 9020 (LTS) (GWG)
                                  Plaintiff,
                                                                           DECLARATION OF
                 -against-                                                 ALLYSON MATEO


DETECTIVE MICHAEL CARINHA,

                                    Defendant.
-----------------------------------------------------------------------X


        ALLYSON MATEO, declares pursuant to 28 U.S.C. §1746, under penalty of perjury,

that the following is true and correct:

        1.       I am the plaintiff in the above captioned action. As such, I am familiar with the

facts stated below, and I submit this Declaration to place on the record relevant information about

the settlement of my personal injury lawsuit in state court.

        2.       My highest level of education is a GED. I stopped attending high school when I

was 16 years old.

        3.       On June 11, 2014, Raskin & Kremins filed a personal-injury lawsuit on my behalf

stemming from an assault that occurred at Riker’s Island on April 28, 2013.

        4.       In January 2017, I was informed by Raskin & Kremins that the City of New York

had offered to settle my personal-injury lawsuit for $50,000.00.

        5.       While I was not happy with this offer, on the advice of my attorneys, I agreed to

accept the City’s $50,000.00 offer to settle my personal injury case.

        6.       When I accepted the $50,000.00 settlement offer, I was not informed that the

settlement would have any impact on my federal civil rights lawsuit.
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